

Matter of Dagan B. (Calla B.) (2021 NY Slip Op 01567)





Matter of Dagan B. (Calla B.)


2021 NY Slip Op 01567


Decided on March 19, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 19, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., SMITH, CENTRA, TROUTMAN, AND WINSLOW, JJ.


12 CAF 19-00188

[*1]IN THE MATTER OF DAGAN B. ONTARIO COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; CALLA B., RESPONDENT-APPELLANT. (APPEAL NO. 2.) 






DAVISON LAW OFFICE, PLLC, CANANDAIGUA (MARK C. DAVISON OF COUNSEL), FOR RESPONDENT-APPELLANT.
HOLLY A. ADAMS, COUNTY ATTORNEY, CANANDAIGUA, FOR PETITIONER-RESPONDENT. 
SUSAN E. GRAY, CANANDAIGUA, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Ontario County (Frederick G. Reed, A.J.), entered December 6, 2018 in a proceeding pursuant to Family Court Act article 10. The order, among other things, continued the subject child's placement with petitioner until the completion of the next permanency hearing. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs.
Same memorandum as in Matter of Dagan B. (Calla B.) ([appeal No. 3] — AD3d — [Mar. 19, 2021] [4th Dept 2021]).
Entered: March 19, 2021
Mark W. Bennett
Clerk of the Court








